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 8                                  UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             No. CR 17 533 EMC

12                                    Plaintiff,           NOTICE OF MOTION AND MOTION TO
                                                           MODIFY RELEASE BOND
13                    v.
                                                           Date: August 30, 2018
14   RUSSELL TAYLOR OTT,                                   Time: 11:00 a.m.
                                                           Crtrm: A (Magistrate Judge Sallie Kim)
15                                    Defendant.
                                                       /
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17   TO:       THE UNITED STATES ATTORNEY FOR THE NORTHERN DISTRICT OF
               CALIFORNIA; ASSISTANT UNITED STATES ATTORNEYS KEVIN BARRY
18             AND MEREDITH OSBORNE; AND TO THE CLERK OF THE ABOVE-
               ENTITLED COURT:
19

20             PLEASE TAKE NOTICE that on August 30, 2018, at 11:00 a.m., or as soon thereafter

21   as the matter can be heard in Courtroom A of the above entitled Court, Defendant, RUSSELL

22   TAYLOR OTT, through his attorney will move the Court to modify his release bond to

23   discontinue the GPS electronic monitoring restriction and change it to a curfew for Mr. Ott. This

24   suggested modification is approved by Pretrial Services given Mr. Ott’s track record of

25   compliance with all the previously imposed conditions of his pretrial release.

26             This motion is based on this Notice, the records and files in this action, all applicable law,

27   and or such further pleadings and arguments as may be presented before and at the hearing of this

28   matter.

     MOTION FOR MODIFICATION OF BOND
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 1                                          INTRODUCTION

 2          Defendant RUSSELL TAYLOR OTT was arrested in late November of 2017. He was

 3   originally ordered detained in December, 2017. (Dkt. Nos. 77, 85) On May 10, 2018 Defendant

 4   Ott requested the court to reconsider the earlier detention order based upon new information and

 5   sureties prepared to secure his release. (Dkt. No. 262) On May 15, 2018 , the Court set release

 6   conditions for Mr. Ott based on a secured bond of $510,000.00. (Dkt. No 266) With the posting

 7   of the security, Mr. Ott was released to the halfway house on Monday, May 21, 2018.

 8          On July 9, 2018, pursuant to defense motion and the concurrence of Pretrial Services, Mr.

 9   Ott’s release conditions were modified to allow him to move to Santa Rosa from the halfway

10   house, and to live in the residence of Susan Madieros. ( Dkt. No. 308 ) The lockdown GPS

11   electronic monitoring condition remained.

12          Mr. Ott has been in complete compliance with his release conditions. United States

13   Pretrial Services officer Josh Libby is supervising and monitoring Mr. Ott. Defendant Ott has a

14   long work history as a drywall installer/finisher. In recent months, Mr. Ott had been speaking to

15   Mr. Libby about returning to the work force and specifically going to work for his brother who

16   owns a drywall company in Santa Rosa, Terry Ott. Last week, after speaking with Terry Ott

17   (who is also a surety for the defendant), Mr. Libby sent defense counsel an email stating: “Just

18   got off the phone with Terry Ott. I’m satisfied with the information he provided and I have no

19   opposition to Russell being allowed to leave home for work. In addition, after reviewing this

20   case with a supervisor, I wouldn’t be opposed to revisiting the electronic monitoring condition .

21   Given his track record of compliance and now the availability of full time employment, I think

22   we can continue to successfully monitor him without the electronic monitoring condition.”

23          Following up on the above email, the government was asked if they would stipulate to

24   either of the two modifications, employment permission and/or curfew rather than electronic

25   monitoring. The government agreed that Mr. Ott could go to work for his brother, and that

26   modification was accomplished by stipulation and order at the end of last week. (Dkt. No. 345)

27   Defendant Ott now moves to modify his electronic monitoring lockdown condition.

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     MOTION FOR MODIFICATION OF BOND
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 1           The current GPS electronic monitoring lockdown condition is that Mr. Ott is confined to

 2   the residence of Susan Madieros, except for medical, legal or employment purposes, or for

 3   unique permitted occasions, such as a funeral service. Mr. Ott has also been allowed to regularly

 4   attend AA meetings. Sixty-four year old Mr. Ott has been completely compliant with all of his

 5   release and reporting conditions. He has tested clean for every drug test, and has a solid, positive

 6   relationship with Mr. Libby. The Court is reminded that Mr. Ott has two young, school age

 7   children that he has been able to reunite with now that he is back in Santa Rosa, and by all

 8   reports he is a loving, caring father to all of his children. He is now back in a position where he

 9   can earn some money to support himself and his family. Mr. Ott is well aware that any variance

10   from his tight set of restrictions could land him back in jail, and he is not about to take that risk.

11   It is submitted that Mr. Ott has earned a greater degree of freedom where he can actually spend

12   time with his children and family outside the constraints of staying within the walls of the

13   Madieros residence. Lifting the lockdown condition will allow him for example to shop for

14   himself, or go to a park, a library or school, or a movie with his family. Under the circumstances,

15   it is entirely just and appropriate to lift the GPS lockdown condition.

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18   Dated: August 28, 2018                          Respectfully submitted,

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20                                                                    /s/
                                                     ROBERT WAGGENER
21                                                   Attorney for Defendant
                                                     RUSSELL TAYLOR OTT
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     MOTION FOR MODIFICATION OF BOND
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